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 4
                            UNITED STATES DISTRICT COURT
 5                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 6

 7
     UNITED STATES OF AMERICA,                         CASE NO. 2:19-cr-00159-RSL
 8
                                 Plaintiff,            MINUTE ORDER
 9               v.

10   PAIGE A. THOMPSON,

11                               Defendant.

12
           The following Minute Order is made and entered at the direction of the Honrable
13   Robert S. Lasnik, United States District Judge:
14         The supervised release evidentiary revocation hearing for the above-named
     defendant previously scheduled for Thursday, June 13, 2024 at 11:00 a.m., is rescheduled
15
     for Thursday, August 8, 2024 at 11:00 a.m., in Room 15106, before Judge Robert S.
16   Lasnik.
17
           DATED this 3rd day of June, 2024.
18

19                                            RAVI SUBRAMANIAN,
                                              Clerk of Court
20
                                              /s/ Victoria Ericksen
21                                            Deputy Clerk to Hon. Robert S. Lasnik

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     MINUTE ORDER - 1
